Case 1:12-CV-OO758-.]AP-ACT Document 13 Filed 09/21/12 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR rI`I-IE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a Ncw Mexico
limited liability company,
Plaintiff,
vs. Case Number: 1:12~cv-00758-JAP~ACT

TESLA MOTORS, INC., a Delaware
corporation,

Defendant.

CERTIFICATE
I hereby certify that Plaint`iff`$ Rule 26(21)(1)(A) Init`lal Disclosures and Plaintiffs
Certiflcate Were mailed to Tesla Motors, Ir.lc., 0/0 Andy Schultz, Rodey, Dickason, Sloan, Al<in

& Robb, PA, P.O. BOX 188 8, Albuquerque, NCW Mexico 87]_03`-1888 on September 21, 2012.

LASTRAPES, SPANGLER & 1’ACIIECO, P.A.

Christophe§~ M. Pacheco

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